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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

ALEK SCHOTT,                                   §
                                               §
                       Plaintiff,              §
v.                                             §
                                               §         Civil Action No.: 5:23-cv-706-OLG-RBF
                                               §
BEXAR COUNTY, TEXAS,                           §
                                               §
                  Defendant.                   §
__________________________________             §

                             DEFENDANT BEXAR COUNTY’S
                            MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE ORLANDO GARCIA:

        NOW COMES BEXAR COUNTY, Defendant in the above entitled and numbered cause, and

pursuant to Rule 56, FEDERAL RULES OF CIVIL PROCEDURE files this its Opposed Motion for

Summary Judgment and in support thereof would respectfully show unto the Court the following:

                                                   I.

        Defendant BEXAR COUNTY would show unto the Court that there is no genuine issue as to

any material fact herein and that it is entitled to judgment, as a matter of law.

                                                   II.
                                             EXHIBITS

        Defendant BEXAR COUNTY incorporates into its Motion for Summary Judgment for all

purposes the following exhibits:

        (1)    Exhibit A    -   Deposition of Sheriff Javier Salazar;
        (2)    Exhibit B    -   Deposition of Captain Aaron Von Muldau;
        (3)    Exhibit C    -   Deposition of Sergeant Peter Gamboa;
        (4)    Exhibit D    -   Deposition of Deputy Joel Babb;
        (5)    Exhibit E    -   Deposition of Deputy Martin Molina III;
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         (6)       Exhibit F 1 -       Alek Schott’s Truck Dash Cam;
         (7)       Exhibit G 2 -       Body worn camera of Deputy Joel Babb - BC000502;
         (8)       Exhibit H 3 -       Body worn camera of Deputy Martin Molina III - BC000671;
         (9)       Exhibit I 4 -       Excel Spreadsheet of Bexar County Traffic Stops;
         (10)      Exhibit J -         K-9 Certificates and Log;
         (11)      Exhibit K -         Deposition of K-9 Expert Kevin Sheldahl.
         (12)      Exhibit L -         Deposition of Expert Gary Haston.

The above Exhibits A through L are hereby incorporated by reference for all purposes.

                                                          III.
                                                  BACKGROUND

         The case at bar concerns the vehicular traffic stop of Plaintiff Alek Schott driving his Ford

F-250 pickup truck (Texas License Plate LJR4135) on March 16, 2022 on IH 35 Northbound.

Bexar County Deputy Joel Babb (assigned to an experimental unit named “Criminal Interdiction

Unit”) made a traffic stop of Plaintiff Alex Schott for crossing over the painted line on the left side

of the road known as the fog line. This provided Deputy Babb with probable cause to make the

initial traffic stop. (See, Exhibit D – Deposition of Joel Babb, pp. 102-104; Exhibit F – Alek

Schott’s Truck Dash Cam.) The entire encounter from the time that Plaintiff Schott’s vehicle pulled

over to the side of the roadway until Plaintiff Schott was released from detention is on the body

worn camera of Bexar County Deputy Joel Babb. (See, Exhibit G – Body Worn Camera of Deputy

Joel Babb).

         Deputy Babb had received prior intelligence through the Laredo Fusion Center that this

Ford F-250 – Texas License Plate LJR4135, through license plate readers had performed a one

day turn around in travel wherein a female passenger was taken to a hotel, dropped off and the



1
  Exhibit F will be filed traditionally with the Court.
2
  Exhibit G will be filed traditionally with the Court.
3
  Exhibit H will be filed traditionally with the Court.
4
  Exhibit I will be filed traditionally with the Court.

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vehicle headed in a return route. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 133-136).

As Deputy Babb approached the passenger side of the Schott Truck, Deputy Babb noticed that

Schott was sitting in the driver’s seat with his hands raised in the air which Deputy Babb thought

to be abnormal behavior. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 132). Deputy

Babb identified himself as a “Criminal Interdiction Officer” and advised Schott that he would only

be receiving a warning regarding his crossing over the painted line (fog line). Deputy Babb

requested Schott’s driver’s license and Schott produced his driver’s license with a trembling hand.

(See, Exhibit D – Deposition of Deputy Joel Babb, p. 178). Deputy Babb further noticed that

Schott was breathing heavily while communicating with Deputy Babb.                    (See, Exhibit D –

Deposition of Deputy Joel Babb, p. 178).

        Deputy Babb requested Schott to exit the vehicle and conducted a terry pat down of

Plaintiff Schott. Plaintiff Schott apologized for drifting over the line. (See, Exhibit D – Deposition

of Deputy Joel Babb, p. 176). Deputy Babb asked Plaintiff Schott whether he had any weapons

inside the vehicle to which Schott hesitated and stated “I don’t think so. There shouldn’t be.”

Deputy Babb thought this was unusual behavior and not knowing whether or not a firearm was in

his vehicle. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 174-184).

        Deputy Babb had Schott sit in the passenger side of his patrol vehicle while Deputy Babb

entered information concerning the warning citation. Deputy Babb notices Schott breathing hard

by the rising and falling of his chest. Deputy Babb further realized that when speaking about

Schott’s travel pattern his voice became low whereas his voice was on a higher tone when talking

in generalities. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 213-216; 221-223.)

        Deputy Babb asked Schott if he could search his vehicle to which Schott replied, “No, he

would not give consent.” Schott explained that he had his oil changed and the mechanic might


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have dropped a joint in the engine. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 249-

265).

         Deputy Babb concluded that he had reasonable suspicion to call for a K-9 Free Air Canine

Sniff of Plaintiff Schott’s truck. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 213-216;

249). Deputy Molina was dispatched to the scene to conduct a K-9 search. (See, Exhibit E –

Deposition of Deputy Martin Molina, p. 126). Deputy Martin Molina arrived with his K-9 Max to

conduct an Free Air Canine Sniff of Schott’s truck. Deputy Molina spoke with Plaintiff Schott as

is his custom, and obtained consent for the Free Air Canine Sniff. (See, Exhibit E – Deposition of

Deputy Martin Molina, p. 63). The Free Air Canine Sniff of Schott’s truck can be seen on Deputy

Molina’s body worn camera. (See, Exhibit H – Deputy Molina’s Body Work Camera Video).

Deputy Molina’s K-9 Max alerted to the driver’s side door of the truck which can be seen on the

video. (See, Exhibit E – Deposition of Deputy Martin Molina, pp. 135-140; 180). The subsequent

search inside Schott’s truck only found an unusable amount of shake on the floorboard. (See,

Exhibit E – Deposition of Deputy Martin Molina, pp. 147-150). The entire incident of the stop of

Plaintiff Schott through his detention and release was 75 minutes. (See, Exhibit B – Deposition of

Captain Aaron Von Muldau, p. 148).

         Plaintiff Schott’s complaint is against the sole remaining defendant in this case, Bexar

County. Plaintiff claims that Bexar County has an unconstitutional policy and custom of using

traffic stops as a tool to conduct searches and seizures without any reason. (See, Claim IV of

Plaintiff’s Original Complaint.) 5




5
   Plaintiff Schott originally brought causes of action against Deputy Babb in Counts I and II for unreasonable search
and seizure and Count III against Babb and Molina for unreasonable search. Subsequent to extensive and contentious
litigation, Plaintiff’s claims against Babb and Molina ended with a Rule 41 Stipulation of Dismissal with prejudice.

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        Defendant BEXAR COUNTY denies that it has a policy, practice or custom of using traffic

stops as a tool to conduct searches and seizure without any reason. Defendant Bexar County

asserts that Deputies Babb and Molina did not violate the constitutional rights of Plaintiff Schott

since Deputy Babb had probable cause to make the vehicular stop, reasonable suspicion for the K-

9 Free Air Canine Sniff and Deputy Molina properly conducted the K-9 Free Air Sniff wherein

Max alerted. When K-9 Max alerted, this gave the deputies probable cause to search Plaintiff

Schott’s truck. Since no member of the Bexar County Deputy Sheriff’s Department violated

Plaintiff’s constitutional rights Plaintiff does not state a cause of action against Bexar County, as

a matter of law. Los Angeles v. Heller, 475 U.S. 796, 798 (1986); Alpha v. Hooper, 440 F.3d 670,

672 (5th Cir. 2006).

        Defendant BEXAR COUNTY asserts unto the Court that in Texas, the Sheriff is the County’s

final policymaker in the area of law enforcement. Colle v. Brazos County, Texas, 981 F.2d 237,

244 (5th Cir. 1993). Defendant Bexar County asserts that Plaintiff has failed to put forth any proof

that Sheriff Salazar, as the policymaker for Bexar County, was deliberately indifferent regarding

Plaintiff’s alleged constitutional violations.

                                                   IV.
                                        UNDISPUTED FACTS

        Defendant BEXAR COUNTY would show unto the Court that the following facts are

undisputed:

        (1)    Deputy Joel Babb was assigned to an experimental unit of the Bexar County
               Sheriff’s Office named “Criminal Interdiction” at the time of the incident
               made the basis of this lawsuit. This experimental unit lasted from 2022
               through May of 2024 when it was disbursed. (See Exhibit A – Deposition of
               Sheriff Jaiver Salazar, pp. 107; 136.).




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        (2)    On March 16, 2022, Deputy Babb received intelligence from the Laredo
               Fusion Center that a Ford F-250 – TX License Plate LJR4135 had performed
               a one day turn around and traveled from Houston to Carrizo Springs wherein
               a female passenger was taken to a hotel, dropped off and the vehicle headed
               in a return route. (See, Exhibit D – Deposition of Deputy Joel Babb, pp. 133-
               136).

        (3)    Deputy Babb saw Plaintiff Schott’s F-250 – TX License Plate LJR4135
               crossing over the painted line on the left side of the road known as the fog
               line on IH 35 Northbound. (See, Exhibit D – Deposition of Deputy Joel
               Babb, pp. 102-104.).

        (4)    The crossing of the painted line known as the fog line provided probable
               cause for the vehicular stop. In addition, Deputy Babb had probable cause
               to make the initial traffic stop based on Plaintiff Shott’s speeding. (See
               Exhibit F – Alek Schott’s Truck Dash Cam indicated 84 mph; Exhibit L –
               Deposition of Expert Gary Haston pp. 216-217; 219-221).

        (5)    Deputy Babb based his reasonable suspicion for a K-9 Free Air Canine Sniff
               on the following:

                a. Schott immediately placed his hands up while he was seated in the
                   driver’s seat when Deputy Babb approached; (Exhibit D – Deposition
                   of Deputy Joel Babb, p. 132);

                b. Deputy Babb had intelligence from the Laredo Fusion Center
                   concerning the vehicle’s one day turn around in travel wherein a female
                   passenger was taken to a hotel, dropped off and the vehicle headed in a
                   return route; (Exhibit D – Deposition of Babb, pp. 133-136);

                c. Schott’s hands were trembling when he produced his driver’s license.
                   (Exhibit D – Deposition of Deputy Joel Babb, p. 178);

                d. Schott was breathing heavily as Deputy Babb witnessed his chest
                   compressions while talking; (Exhibit D – Deposition of Deputy Joel
                   Babb, p. 178);

                e. Schott was unsure if he had a weapon in his vehicle; (Exhibit D –
                   Deposition of Deputy Joel Babb, pp. 178; 213-216);

                f. Schott mentioned he recently had an oil change and the mechanic could
                   have dropped a joint in the engine. (Exhibit D – Deposition of Deputy
                   Joel Babb, p. 265).




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        (6)    Deputy Martin Molina was dispatched to the traffic stop in question.
               (Exhibit E – Deposition of Deputy Martin Molina, p. 126);

        (7)    Deputy Molina’s K-9 Max was certified through NCATS (National Canine
               Audit Tracking System). (Exhibit E – Deposition of Deputy Martin Molina,
               pp. 24-25; 32; Exhibit J – K-9 Certificates and Log; Exhibit K – Deposition
               of Expert Kevin Sheldahl, p. 101);

        (8)    Deputy Molina with K-9 Max conducted a Free Air Canine Sniff of Plaintiff
               Schott’s truck. K-9 Max alerted to the driver’s side door of Plaintiff’s truck.
               (See, Exhibit E – Deposition of Deputy Martin Molina, pp. 135-140; 180).

        (9)    K-9 Max was certified by NCATS and was one of the best K-9’s in Bexar
               County. See, Exhibit C – Deposition of Sergeant Peter Gamboa, pp. 245-
               246; Exhibit E – Deposition of Deputy Martin Molina, pp. 54; 181; 193).

        (10) Deputy Babb was terminated from the Bexar County Sheriff’s Department
             for lying about his dash camera video by saying that the camera was
             inoperable. (See, Exhibit A – Deposition of Sheriff Javier Salazar, pp. 229-
             230; Exhibit B – Deposition of Captain Aaron Von Muldau, pp. 151-159).

        (11) Sheriff Salazar disbanded the Criminal Interdiction Unit and transferred the
             officers to other units due to violent high speed pursuits of the smugglers
             transporting illegal aliens into the country. (See, Exhibit A – Deposition of
             Sheriff Javier Salazar, p. 118).

                                                    V.
                                      STANDARD OF REVIEW

        Summary judgment is appropriate under Rule 56 of the Fed. R. Civ. Proc. only “ if the

Movant shows that there is no genuine dispute as to any material fact and the Movant is entitled

to judgment, as a matter of law. A dispute is ‘genuine’ only if the evidence is such that a

reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 254 (1986). A fact issue is material if its resolution could affect the outcome

of the action. Poole v. City of Shreveport, 691 F.3d 624, 627 (5th Cir. 2012).




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        The party moving for summary judgment bears the initial burden of informing the district

court of the basis for its motion, in identifying those portions of the record which it believes

demonstrates the absence of a genuine issue of material fact. Celetex v. Catrett, 477 U.S. 317, 323

(1986). The moving party may meet its burden by simply pointing to an absence of evidence to

support the non-moving party’s case. Boudreaux v. Swift Transp. Co., 402 F.3d 536, 544 (5th

Cir. 2005). The burden then shifts to the non-moving party to establish the existence of a genuine

issue for trial. Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585 (1986).

After the non-movant has been given the opportunity to raise a genuine factual issue, if no

reasonable juror could find for the non-movant, summary judgment will be granted. Mississippi

River Basin Alliance v. Westphal, 230 F.3d 170, 174 (5th Cir. 2000).

        The Court must view the facts and draw reasonable inferences in the light most favorable to

the party opposing summary judgment. However, at the same time, the Court does not consider a

party’s description of facts that is so blatantly contradicted by video evidence that “no reasonable

jury could believe it.” Scott v. Harris, 550 U.S. 372, 380 (2007).


                                                   VI.
                                         L EGAL A NALYSIS

A.      DEFENDANT BEXAR COUNTY IS ENTITLED TO SUMMARY JUDGMENT SINCE
        NO BEXAR COUNTY OFFICIAL VIOLATED PLAINTIFF SCHOTT’S
        CONSTITUTIONAL RIGHTS AND THEREFORE, BEXAR COUNTY CANNOT BE
        LIABLE TO PLAINTIFF, AS A MATTER OF LAW.

        1.      DEPUTY JOEL BABB.

        Defendant BEXAR COUNTY asserts unto the Court that Deputy Babb did not violate

        Plaintiff Schott’s constitutional rights under the Fourth or Fourteenth Amendment as

        alleged in Plaintiff’s Complaint under Counts I, II and III.


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                a)      Deputy Babb had probable cause to make a vehicular stop of Schott’s Truck
                        based on crossing the fog line in violation of Texas Transportation Code, §
                        545.060(a) and for speeding as evidenced by the Schott Video of traveling
                        at 84 miles per hour in a 70 mph zone. (See, Exhibit F – Alek Schott’s Truck
                        Dash Cam; Exhibit L – Deposition of Expert Gary Haston, pp. 168-169;
                        216-221).

                b)      Deputy Babb developed reasonable suspicion for the Free Air Canine Sniff
                        based on the following:

                        i. Schott immediately placed his hands up in the air while he was seated
                           in the driver’s seat when Deputy Babb approached. (See, Exhibit D –
                           Deposition of Deputy Joel Babb, p. 132);

                        ii. Deputy Babb had intelligence from the Laredo Fusion Center
                            concerning the truck’s one day turn around; and travel wherein a female
                            passenger was taken to a hotel, dropped off and the vehicle headed in a
                            return route. (Exhibit D – Deposition of Deputy Joel Babb, pp. 133-136).

                        iii. Schott’s hands were trembling when he produced his driver’s license.
                             (See, Exhibit D – Deposition of Deputy Joel Babb, p. 178);

                        iv. Schott was breathing heavily as Deputy Babb witnessed his chest
                            compressions while talking (Exhibit D – Deposition of Deputy Joel
                            Babb, p. 178);

                        v. Schott was unsure if he had a weapon in his vehicle. (Exhibit D –
                           Deposition of Deputy Joel Babb, pp. 178; 213-216);

                        vi. Schott mentioned he recently had an oil change and the mechanic could
                            have dropped a joint in the engine. (Exhibit D – Deposition of Deputy
                            Joel Babb, p. 265).

                c)      Schott’s actions provided articulable facts by which Deputy Babb could
                        reasonably suspect that a crime had been committed. United States v.
                        Brigham, 382 F.3d 500, 508 (5th Cir. 2004); U.S. v. Wilkerson, 405
                        F.App’x 893, 896 (5th Cir. 2010).

                d)      Deputy Babb called for a K-9 to conduct an Free Air Canine Sniff. K-9
                        Max alerted providing probable cause for the search of Schott’s vehicle.
                        Plaintiff Schott was released after 75 minutes. (See, Exhibit B – Deposition
                        of Captain Aaron Von Muldau, p. 148).




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                Defendant BEXAR COUNTY asserts that Weisshaus v. Teichelman, 637 F.Supp.3d

        434 (N.D. Tex. 2022) is a paradigm to the case at bar. In Weisshaus, plaintiff and his

        passenger were stopped driving through Texas en route from Oklahoma to Arizona.

        Defendant Officer Teichelman was working for the Judicial District Traffic Enforcement

        Division. Officer Teichelman stopped the Weisshaus vehicle for speeding and displaying

        an obscured license plate. Officer Teichelman asked Plaintiff Weisshaus to step out of his

        out his vehicle and sit in the front of Officer Teichelman’s patrol vehicle while Defendant

        processed the warning citation. While in the patrol vehicle, Officer Teichelman asked

        Plaintiff Weisshaus questions regarding where he was traveling and how long he intended

        to stay at his destination. Officer Weisshaus stated that Plaintiff gave short responses and

        was unable to provide any details. Officer Teichelman then asked the female passenger

        the same general questions which provided inconsistent answers from Weisshaus. Both

        Plaintiff Weisshaus and his passenger appeared nervous, timid and scared.                  Officer

        Teichelman then had the passenger and Weisshaus step away from the vehicle so that he

        could run his K-9 Kobra around the vehicle for a Free Air Canine Sniff. K-9 Kobra gave

        a passive alert and Officer Teichelman searched the vehicle. No narcotics were found and

        Officer Teichelman let Plaintiff and Ms. Lee leave with a warning.

                Plaintiff Weisshaus filed suit under Section 1983 alleging that Officer

        Teichelman’s search was an unconstitutional detention in violation of Plaintiff’s rights.

        Plaintiff pled that the 100th Judicial District Task Force practice of prolonging traffic stops

        passed the time when the purpose for the stop had concluded in order to illegally detain

        and search citizens and subject them to civil forfeiture proceedings. Defendant Officer

        Teichelman filed a motion for summary judgment asserting that plaintiff Weisshaus did


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        not sustain a constitutional deprivation. Plaintiff argued that Officer Teichelman lacked

        reasonable suspicion to support detaining plaintiff after the purpose of the traffic stop had

        concluded and the search of his vehicle was illegal. The trial court reasoned that that in

        determining the legality of a traffic stop, the Court must first examine whether the officer’s

        action was justified at its inception and then inquire whether the officer’s subsequent

        actions were reasonably related in scope to the circumstances that justified the stop. United

        States v. Brigham, 382 F.3d 500, 506 (5th Cir. 2009). The Court first noted that while the

        plaintiff denied that he was speeding or displaying an obscured license plate, that the

        defendant officer, Teichelman, was entitled to make a “reasonable but mistake in

        judgment” so long as his determination that the plaintiff was speeding was not plainly

        incompetent. Heien v. North Carolina, 574 U.S. 54, 60 (2014).

                Once the Court determined that the initial stop was justified, it determined whether

        Defendant Officer Teichelman’s subsequent actions were reasonably related in scope to

        the circumstances that justified the stop. A seizure that is justified solely by the interest in

        issuing a warning ticket to the driver, can become unlawful if it is prolonged beyond the

        time reasonably required to complete that mission. Illinois v. Caballes, 54 U.S. 405, 407

        (2005). But, if the officer develops reasonable suspicion of additional criminal activity

        during his investigation of the circumstances that originally caused the stop, he may further

        detain the occupant of the vehicle for a reasonable time while appropriately attempting to

        dispel this reasonable suspicion. United States v. Andres, 703 F.3d 828, 833 (5th Cir.

        2013). There is, however, no constitutional stop watch on traffic stops. United States v.

        Brigham, 382 F.3d 500, 511 (5th Cir. 2009). The reasonable suspicion inquiry falls

        considerably short of 51 percent accuracy…. to be reasonable is not to be perfect. Kansas


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        v. Glover, 589 U.S. 376, 380 (2020). Courts must look at the “totality of the circumstances”

        of each case to see whether the detaining officer has a particularized and objective basis

        for suspecting legal wrongdoing. United States v. Lopez-Moreno, 420 F.3d 420, 430 (5th

        Cir. 2005).

                The trial court held that Officer Teichelman had reasonable suspicion based on the

        fact that plaintiff was speeding and displayed an obscured license plate; plaintiff was

        traveling on I-40 which is routinely is used for narcotic and human trafficking; a large gap

        in age between the plaintiff and his female passenger; and plaintiff’s responses were short,

        incomplete and generally displayed a nervous behavior.

                The trial court then analyzed the fact that the Free Air Canine Stiff by the K-9

        Narcotics Dog was minimally invasive and did not constitute a search or seizure for the

        Fourth Amendment purposes. United States v. Place, 462 U.S. 696, 707 (1983). Officer

        Teichelman’s K-9 Kobra, made a passive alert to the vehicle which provided probable

        cause for the search of the vehicle. A narcotic’s detection dog’s alert provides probable

        cause when all the facts surrounding a dog’s alert, viewed through the lens of common

        sense, would make a reasonably prudent person think that a search would reveal contraband

        or evidence of a crime. Florida v. Harris, 568 U.S. 237, 248 (2013). The Court further

        reasoned that a “full alert” is not required to establish probable cause. United States v.

        Clayton, 374 F.App’x 497, 502 (5th Cir. 2010). Each dog alerts in a different way, and the

        dog’s behavior must be interpreted by the handler. Evidence of a dog’s satisfactory

        performance and certification or training program can itself provide sufficient reason to

        trust the alert. Florida v. Harris, 568 U.S. 237, 247 (2013). Ultimately, the Court granted

        Defendant Officer Teichelman’s motion for summary judgment.


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                Plaintiff Weisshaus then appealed to the Fifth Circuit Court of Appeals in

        Weisshaus v. Teichelman, 2024 WL 620372 (5th Cir., Feb. 14, 2024). The Fifth Circuit

        affirmed the trial court’s analysis under the Fourth Amendment in granting the motion for

        summary judgment. The Fifth Circuit held that Officer Teichelman had reasonable

        suspicion of additional criminal activity during his identification of the circumstances that

        originally caused the stop to further detain plaintiff for a reasonable amount of time to

        dispel the reasonable suspicion. United States v. Andres, 703 F.3d 828, 833 (5th Cir.

        2013). The Fifth Circuit held that Weisshaus’ short responses to questions about his travel

        plans; traveling I-40 in a known drug corridor and appearing nervous to questions regarding

        his travel provided articulable reasonable suspicion. The Court specifically cited to United

        States v. Andres, 703 F.3d 828, 833 (5th Cir. 2013) by stating that an officer had reasonable

        suspicion where the driver’s nervousness and an anonymous tip about carrying drugs

        created reasonable suspicion justifying the detention. The Court reasoned that the totality

        of the circumstances and collecting knowledge of the officer established reasonable

        suspicion to continue the detention. The Fifth Circuit further reasoned that under Florida

        v. Harris, 568 U.S. 237, 246 (2013) that evidence of K-9 Kobra’s certification and the

        training program was a sufficient reason to trust his alert. The Fifth Circuit affirmed the

        trial court’s granting of summary judgment.

                In the case at bar, Deputy Babb had probable cause to believe a traffic violation had

        occurred. Namely, had the probable cause to make a vehicular stop of the Schott vehicle

        based under the TEXAS TRANSPORTATION CODE, Section 545.060(a) for failure to drive

        within a single lane and for the offense of speeding by traveling 84 mph in a 70 mph zone.

        (See, Exhibit F – Alek Schott’s Truck Dash Cam; Exhibit D - Deposition of Deputy Joel


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        Babb, pp. 102-104; Exhibit L – Deposition of Expert Gary Haston, pp. 216-217; 219-221).

        A police officer may stop a vehicle if he has probable cause to believe a traffic violation

        has occurred. Whren v. United States, 517 U.S. 806, 810 (1996). Fifth Circuit case law

        including stopping vehicles for crossing the fog line in the Fifth Circuit include United

        States v. Wilkerson, 405 F.App’x 893 (5th Cir. 2010); United States v. Valenzuela-

        Godinez, 816 F.App’x 914 (5th Cir. 2020); Wilson v. Cockrell, 2023 WL 8195199 (S.D.

        Tex. Nov. 27, 2023).

                Defendant BEXAR COUNTY further asserts that Plaintiff’s own video cam (Exhibit

        F), displays speeding of Plaintiff Schott by traveling 84 mph in a 70 mph zone. (Exhibit L

        – Deposition of Expert Gary S. Haston, pp. 216-217; 219-221). Defendant Bexar County

        asserts that under the Doctrine of Devonpeck v. Alford, 543 U.S. 146 (2004), that for a

        plaintiff to state a Fourth Amendment claim for wrongful arrest or detention that the officer

        must not be aware of facts constituting probable cause to arrest or detain the person for

        “any crime.” An officer’s subjective reasons for making the arrest need not be the criminal

        offense to which the known facts provide probable cause. Devonpeck v. Alford, 543 U.S.

        146, 153 (2004).

                Defendant BEXAR COUNTY asserts that Deputy Babb developed reasonable

        suspicion of additional criminal activity during the traffic stop and therefore, Plaintiff

        Schott’s detention for a reasonable amount of time was appropriate to dispel this reasonable

        suspicion that was articulated by the deputy. United States v. Andres, 703 F.3d 828, 833

        (5th Cir. 2013). Deputy Babb’s articulating that Schott immediately placed his hands up

        in the air when Deputy Babb approached him; Deputy Babb’s intelligence from the Laredo

        Fusion Center concerning the truck’s one day turnaround, Schott’s hands trembling when


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        he produced his driver’s license; Schott’s breathing heavily as Deputy Babb witnessed his

        chest compressions; Plaintiff Schott’s being unsure of whether or not he had a weapon in

        his vehicle and Plaintiff Schott’s mentioning that he recently had an oil change and the

        mechanic could have dropped a joint in his engine all provided articulable facts by which

        Babb could reasonably suspect that a crime had been committed. United States v.

        Brigman, 382 F.3d 500, 508 (5th Cir. 2004). Defendant Bexar County asserts that Deputy

        Babb’s actions on March 16, 2022 did not violate Plaintiff Schott’s constitutional rights

        under the Fourth or Fourteenth Amendment, as a matter of law.


        2.      DEPUTY MARTIN MOLINA III.

                Deputy Martin Molina, K-9 Officer, was dispatched to the traffic stop in

        question concerning Plaintiff Schott. (See, Exhibit E – Deposition of Deputy Martin

        Molina III, p. 126). Deputy Molina’s K-9 Max, was certified through NCATS

        (National Canine Audit Tracking System) and was one of the best K-9’s in the

        Bexar County Sheriff’s Department. (See, Exhibit E – Deposition of Deputy Martin

        Molina III, pp. 24-25; Exhibit J – Canine Certificates and Log; Exhibit C –

        Deposition of Sergeant Peter Gamboa, pp. 245-246). K-9 Max was certified

        through the NCATS (National Canine Audit Tracking System) and had compiled a

        90 percent accuracy rating. (See, Exhibit J – Canine Certificates and Log; Exhibit

        K – Deposition of Expert Kevin Sheldahl, pp. 101; 200-202). Deputy Molina with

        K-9 Max conducted a Free Air Canine Sniff of Plaintiff Schott’s truck and Max

        alerted to the driver’s side door of Plaintiff’s truck. (See, Exhibit E – Deposition of

        Deputy Martin Molina III, pp. 135-140; 180; Exhibit H – Body worn camera of



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        Deputy Martin Molina III ). In Florida v. Harris, 568 U.S. 237 (2013), the

        Supreme Court held that evidence of a dog’s satisfactory performance and

        certification in training program can itself provide sufficient reason to trust his alert.

        If a bonafide organization has certified a dog after testing his reliability and control

        setting, a court can presume that the dog’s alert provides probable cause to search.

        Id. at 246.

                In the case at bar, Deputy Molina and K-9 Max conducted an Free Air

        Canine Sniff of Plaintiff Schott’s truck and K-9 Max alerted. The subsequent

        search inside Schott’s Truck found an unusable amount of shake on the floorboard.

        (See, Exhibit E – Deposition of Deputy Martin Molina III, pp. 147-150). Deputy

        Molina and K-9 Max did not violate Plaintiff’s rights under the Fourth or

        Fourteenth Amendment as alleged in Plaintiff’s Complaint, Count III, as a matter

        of law. Florida v. Harris, 568 U.S. 237 (2013); Weisshaus v. Teichelman,

        F.Supp.3d 434, 444 (N.D. Tex. 2022).

                Defendant BEXAR COUNTY asserts that the actions of Deputy Babb and

        Deputy Molina on the date in question did not violate Plaintiff’s constitutional

        rights. Since no member of the Bexar County Sheriff’s Department violated

        Plaintiff’s constitutional rights, Plaintiff does not state a cause of action against

        Bexar County, as a matter of law. Los Angeles v. Heller, 475 U.S. 796, 798 (1986);

        Alpha v. Hooper, 440 F.3d 670, 672 (5th Cir. 2006).




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B.      DEFENDANT BEXAR COUNTY IS ENTITLED TO SUMMARY JUDGMENT
        SINCE NO CUSTOM OR POLICY WAS THE MOVING FORCE BEHIND
        PLAINTIFF SCHOTT’S ALLEGED CONSTITUTIONAL VIOLATION.

        Defendant BEXAR COUNTY asserts that since no official of Bexar County violated

Plaintiff’s constitutional rights that Bexar County is not liable to the Plaintiff herein. Without

waiving this argument and pleading in the alternative, Defendant Bexar County would show unto

the Court that it does have a policy, practice or custom of using traffic stops as a tool to conduct

searches and seizures without any reason as alleged in Plaintiff’s Complaint.

        A municipality such as BEXAR COUNTY may be liable under Section 1983 if the execution

of one of its customs or policies causes the deprivation of a constitutional right. Monell v. Dept.

of Soc. Svcs, 436 U.S. 658, 694 (1978). No liability exists under a theory of Respondeat Superior

in Section 1983 actions. Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001). To

establish municipal liability, a Plaintiff must show (1) an official policy or custom of which (2) a

policymaker can be charged with actual or constructive knowledge, and (3) a constitutional

violation who’s moving force is that policy or custom. Pineda v. City of Houston, 291 F.3d 325,

328 (5th Cir. 2002). To establish the third element, a Plaintiff must show that either the policy

itself was unconstitutional or that the policy was adopted with deliberate indifference to the known

or obvious fact that a specific constitutional violation would follow.

        There are three ways to establish municipal policy for Section 1983:

            “First, a plaintiff can show a written policy, statement, ordinance, or
            regulation. Second, a plaintiff can show a wide spread practice that is
            so common and well settled as to constitute a custom that fairly
            represents municipal policy.       Third, even a single decision may
            constitute municipal policy in rare circumstances when the official or
            entity possessing final policymaking authority for an action performs
            the specific act that forms the basis of the Section 1983 claim.” Webb
            v. Town of St. Joseph, 925 F.3d 209, 214 (5th Cir. 2019).

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        In the case at bar, the focus is on the second aspect concerning a widespread custom or

practice. However, the prior acts cannot simply be for “any and all bad acts or unwise acts” but

most rather point to the specific violation at issue. Estate of Davis Ex. Rel. McCully v. City of

North Richland Hills, 406 F.3d 375, 383 (5th Cir. 2005).

        Plaintiff may show an employee practice that is so widespread and common that it may be

considered as a custom representing the policies of the municipality. Piotrowski v. City of

Houston, 237 F.3d 567, 581 (5th Cir. 2001). To establish that such a custom is present through

the actions of municipal employees, those actions must have occurred for so long or so frequently

that the course of conduct warrants the attribution to the governing body of knowledge that the

objectionable conduct is expected, accepted practice of city employees. Webster v. City of

Houston, 735 F.2d 838, 842 (5th Cir. 1984)(en banc). A customary policy consists of actions that

have occurred for so long, and with such frequency, that the course of conduct demonstrates the

governing body’s knowledge and acceptance of the disputed conduct. Zarnow v. City of Wichita

Falls, 614 F.3d 161, 169 (5th Cir. 2010).

        A plaintiff proves the existence of a custom by showing a “pattern of abuses that transcends

the error made in a single case.” Piotrowski v. City of Houston, 237 F.3d 567, 582 (5th Cir. 2001).

A successful showing of such a pattern requires similarity and specificity; prior indications cannot

simply be for any and all bad or unwise acts, but rather must point to the specific violation in

question. Hicks-Fields v. Harris County, 860 F.3d 803, 810 (5th 2017). In addition to similarity

and specificity, a pattern must be comprised of sufficiently numerous prior incidents rather than

merely isolated incidents. Fuentes v. Nueces County, 689 F.App’x 775, 778 (5th Cir. 2017).

Showing a pervasive pattern is a heavy burden. Sanchez v. Young County, 956 F.3d 785, 793

(5th Cir. 2020).


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        In the case at bar, Sheriff Javier Salazar is the policymaker for Bexar County. Colle v.

Brazos County, Texas, 981 F.2d 237, 244 (5th Cir. 1993).             Plaintiff Schott claims that Bexar

County has an unconstitutional policy and custom of using traffic stops as a tool to conduct

searches and seizures without any reason. Plaintiff’s burden is to establish that Sheriff Salazar

established a policy or custom with deliberate indifference to the known or obvious consequences

that constitutional violations would result. Covington v. City of Madisonville, 812 F.App’x 219,

225 (5th Cir. 2020); Alvarez v. City of Brownsville, 904 F.3d 382, 390 (5th Cir. 2018).

        Direct causation and deliberate indifference are “rigorous requirements” necessary to

prevent municipal liability collapsing into Respondeat Superior liability. Board of County

Commissioners of Bryan County, Oklahoma v. Brown, 520 U.S. 397, 415 (1997). In short, the

evidence must establish, under the stringent standards of the Supreme Court’s pronouncements in

Bryan County, unmistakable culpability and clearly connected causation.

        “Deliberate indifference is a high standard that requires a complete disregard of
        the risk that a violation of a particular constitutional right would follow the
        decision. To show deliberate indifference, a plaintiff must normally allege a
        pattern of similar constitutional violations by untrained employees. A pattern
        requires similarity and specificity; prior indications cannot simply be for any and
        all bad or unwise acts, but rather must point to the specific violation in question.”
        Edwards v. City Balch Springs, Tx, 70 F.4th 302, 312 (5th Cir. 2023)(cleaned up).

        Defendant BEXAR COUNTY asserts unto the Court that there is no evidence of deliberate

indifference by Sheriff Salazar concerning Plaintiff Schott’s alleged constitutional deprivation.

Bexar County Sheriff Salazar was a prior drug interdiction officer during his career with the San

Antonio Police Department wherein he worked with the federal authorities. (See, Exhibit A –

Deposition of Sheriff Javier Salazar, p. 30). Sheriff Salazar conducts weekly command staff


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meetings with his Chief Deputy, Deputy Chiefs and Assistant Chiefs. (See, Exhibit A – Deposition

of Sheriff Javier Salazar, p. 66). Sheriff Salazar stated in deposition that the Bexar County

Criminal Interdiction Unit was an experimental unit which was tried for a couple of years and then

disbanded. (See, Exhibit A – Deposition of Sheriff Javier Salazar, pp. 70-72; 102). The Bexar

County Interdiction Unit was disbanded and the deputies disbursed to other units due to violent

high speed pursuits of smugglers transporting illegal aliens into the country. (See, Exhibit A –

Deposition of Sheriff Javier Salazar, p. 118). The Bexar County Sheriff’s Criminal Interdiction

Unit was disbanded in May of 2024. (See, Exhibit A – Deposition of Sheriff Javier Salazar, p.

136). Sheriff Salazar terminated Deputy Babb for lying concerning the use of his dash camera

video on his patrol car, but not for the stop in question. (See, Exhibit A – Deposition of Sheriff

Javier Salazar, pp. 229-230).

        Defendant BEXAR COUNTY would show unto the Court that it provided data concerning

traffic stops conducted by the Bexar County Sheriff’s Department from January 1, 2020 through

September 11, 2023. This included a three and a half year time frame. (See, Exhibit B – Deposition

of Captain Aaron Von Muldau, p. 55; Exhibit I – Excel Spreadsheet of Bexar County Traffic Stops).

The data shows that during the three and a half year period, that 2,439 traffic stops were made for

improper lane changes. (See, Exhibit B – Deposition of Captain Aaron Von Muldau, pp. 77, 90).

Of those traffic stops for improper lane changes, the Criminal Interdiction Unit composed of

Deputy Babb and Deputy Gereb had 21 percent of said stops. (See, Exhibit B – Deposition of

Captain Aaron Von Muldau, p. 91).

        Defendant BEXAR COUNTY would show unto the Court that it does investigate traffic stops

when a complaint is made but this is done on a complaint by complaint basis. (See, Exhibit B –

Deposition of Captain Aaron Von Muldau, pp. 80-81). Defendant Bexar County does take action


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against its officers when complaints are sustained from a reprimand through suspension. (See,

Exhibit B – Deposition of Captain Aaron Von Muldau, p. 76). Defendant Bexar County asserts

that in all the data provided to Plaintiff’s counsel, no custom or policy is exhibited of an

unconstitutional policy or custom of using traffic stops as a tool to conduct searches and seizures

without any reason, as alleged in Plaintiff’s Complaint. No evidence exists that Sheriff Salazar

was deliberately indifferent to the constitutional rights of the traveling public. Defendant Bexar

County asserts that its policymaker, Sheriff Salazar, was not deliberately indifferent in the

experimental unit known as the Criminal Interdiction Unit which was in existence for only a couple

of years. When policy violations did become known, the Bexar County Sheriff’s Department

terminated Deputy Babb for dishonesty concerning the his dash camera wherein he stated it was

inoperable when in fact he had turned off the video cam. (See, Exhibit A – Deposition of Sheriff

Javier Salazar, p. 151).

        Defendant BEXAR COUNTY asserts that it does not have an unconstitutional custom or

policy of using traffic stops as a tool to conduct searches and seizures as alleged in Plaintiff’s

Complaint, as a matter of law. Board of County Commissioners of Bryan County, Oklahoma v.

Brown, 520 U.S. 397, 415 (1997).

        WHEREFORE, PREMISES CONSIDERED Defendant Bexar County prays that its

Motion for Summary Judgment be in all things granted, and for such other and further relief as it

may show itself justly entitled.




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                                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of June, 2025, I electronically filed the foregoing
Defendant BEXAR COUNTY’s Motion for Summary Judgment via CM/ECF which will
electronically serve notice to the following:

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